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                                 UNITED STATES DISTRICT COURT

                                WESTERN DISTRICT OF WISCONSIN



Nancy Thompson                                        Case No.: 3:21-cv-00644-SLC

               Plaintiff,
                                                      PLAINTIFF’S NOTICE OF VOLUNTARY
        vs.                                           DISMISSAL OF DEFENDANT CREDIT
                                                      ONE BANK, N.A. PURSUANT TO
Credit One Bank, N.A., et. al.                        FEDERAL RULE OF CIVIL
                                                      PROCEDURE 41(A)(1)
               Defendants.




PLEASE TAKE NOTICE that Plaintiff Nancy Thompson, pursuant to Federal Rule of Civil

Procedure 41(a)(1), hereby voluntarily dismisses Credit One Bank, N.A. as to all claims in this

action, with prejudice.

        Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

        41(a) Voluntary Dismissal

        (1) By the Plaintiff

               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any

                   applicable federal statute, the plaintiff may dismiss an action without a court

                   order by filing:

                          (1) a notice of dismissal before the opposing party serves either an answer

                             or a motion for summary judgment.

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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
   Case: 3:21-cv-00644-slc Document #: 9 Filed: 11/19/21 Page 2 of 2




       Defendant Credit One Bank, N.A. has neither answered Plaintiff’s Complaint, nor filed a

motion for summary judgment. Accordingly, the matter may be dismissed against it for all

purposes and without an Order of the Court.



Dated: November 19, 2021                      Gale, Angelo, Johnson, & Pruett, P.C.

                                         By:          /s/ Elliot Gale
                                                      Elliot Gale
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                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
